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    July 26, 2024

    VIA ECF

    The Honorable Margo K. Brodie
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201


           Re: In re Payment Card Interchange Fee and Merchant
           Discount Antitrust Litigation, No. 05-md-01720 (MKB) (JAM)


    Dear Chief Judge Brodie:

           We write on behalf of the parties in the Rule 23(b)(2) class action. Following the Court’s
    denial of the Equitable Relief Class Plaintiffs’ Motion for Preliminary Approval of
    Settlement, see ECF No. 9333, the parties have restarted settlement discussions and have engaged
    a mediator to aid in the process.

             As the parties continue their efforts to resolve this action, we respectfully seek the Court’s
    guidance in connection with scheduling a trial in this case to proceed in the event that those efforts
    are ultimately unsuccessful. After conferring about their respective commitments, including a trial
    already set for early January through mid-February, counsel for the parties jointly ask that the
    Court set trial in this matter for April-May of 2025, if that is possible for the Court. Plaintiffs seek
    a trial of four to six weeks, while Defendants believe that a total of eight weeks will be necessary
    to fully and fairly present their defenses. Based on the Court’s availability, in accordance with
    Your Honor’s Individual Practices and Rules, the parties will confer regarding interim deadlines
    and will file a proposed scheduling order(s) for the Court’s consideration.

           We are available to discuss these matters at the Court’s convenience and stand ready to
    provide any further information that would be helpful to the Court.


    Respectfully submitted,

    /s/ Steve D. Shadowen
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    cc: All Counsel of Record (by ECF)
